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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   NORTHERN DIVISION

AKIRA JONES, individually and on behalf
of all others similarly situated,

                        Plaintiffs,
                                                              Case Number 17-13304-BC
v.                                                            Honorable Thomas L. Ludington

CMB SERVICES, INC.,

                  Defendant.
_________________________________________ /

                                      ORDER OF DISMISSAL

       On October 9, 2017, Plaintiff filed suit against Defendant seeking redress for Defendant’s

alleged actions of using an unfair and unconscionable means to collect a debt. Comp. ECF No. 1.

On October 11, 2017, this Court referred all pretrial matters to Magistrate Judge Patricia T. Morris.

ECF No. 4. On December 19, 2017, Magistrate Judge Patricia T. Morris issued an Order of

Completion of Referral as she was notified that a settlement in this matter had been reached. ECF

No. 14. On December 19, 2017, this Court issued an Order Directing the Submission of Closing

Document by January 31, 2018. ECF No. 15. After no response, this Court issued an Order for

Plaintiff to Show Cause in writing why this case should not be dismissed for failure to prosecute

by March 2, 2018. ECF No. 16. This Court has not received closing documents or a written

response to the Show Cause as ordered.

       Accordingly, it is ORDERED that this matter is DISMISSED WITHOUT PREJUDICE

and closes this case.


                                              s/Thomas L. Ludington
                                              THOMAS L. LUDINGTON
                                              United States District Judge

Dated: March 9, 2018
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                                      PROOF OF SERVICE

             The undersigned certifies that a copy of the foregoing order was served
             upon each attorney or party of record herein by electronic means or first
             class U.S. mail on March 9, 2018.

                                               s/Kelly Winslow
                                               KELLY WINSLOW, Case Manager




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